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14                               UNITED STATES DISTRICT COURT
15                            NORTHERN DISTRICT OF CALIFORNIA
16

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18     CHRISTINE WHALEN, et al.,                      Case No. 3:23-cv-00459-VC
                      Plaintiffs,
19                                                    STIPULATION AND [PROPOSED]
             v.                                       ORDER SETTING CASE DEADLINES
20
       THE KROGER CO., ALBERTSONS                     Hon. Vince Chhabria
21     COMPANIES, INC., and CERBERUS
       CAPITAL MANAGEMENT, L.P.,
22
                           Defendants.
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     STIPULATION AND [PROPOSED] ORDER SETTING CASE DEADLINES                      NO. 3:23-cv-00459-VC
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 1          Pursuant to Civil Local Rules 6-2 and 7-12, Plaintiffs Christine Whalen, et al., (“Plaintiffs”)

 2   and Defendants The Kroger Co., Albertsons Companies, Inc., and Cerberus Capital Management,

 3   L.P. (“Defendants”) hereby stipulate through their respective counsel of record to extend the briefing

 4   dates for Defendants’ anticipated Motions to Dismiss the Amended Complaint (ECF No. 93).

 5          WHEREAS, Plaintiffs filed their First Amended Complaint Charging The Kroger Co.’s

 6   Acquisition of Albertsons as a Violation of Section 7 of the Clayton Antitrust Act, 15 U.S.C. § 18

 7   (ECF No. 93) (“First Amended Complaint”) on October 2, 2023,

 8          WHEREAS, Defendants’ Motions to Dismiss the First Amended Complaint would be due on

 9   October 16, 2023,

10          WHEREAS, the Court has scheduled a Status Conference for October 20, 2023 (ECF No. 92)

11   (“Status Conference”),

12          WHEREAS, Defendants wish to have the benefit of any guidance the Court provides at the

13   Status Conference before any Motions to Dismiss and related briefings are filed,

14          WHEREAS, extending the briefing schedule for the Motions to Dismiss would further the

15   efficient disposition of this case by enabling the parties to address any issues raised by the Court at

16   the Status Conference,

17          WHEREAS, Plaintiffs do not object to this extension,

18          NOW THEREFORE, THE PARTIES BY COUNSEL HEREBY STIPULATE, subject to the

19   Court’s approval, to the following revision of the briefing schedule: (1) Defendants’ Motions to

20   Dismiss the First Amended Complaint are due on October 26, 2023, (2) Plaintiffs’ Opposition to

21   Defendants’ Motions to Dismiss the First Amended Complaint are due on November 9, 2023, (3)

22   Defendants’ Replies in Support of Motions to Dismiss are due on November 16, 2023. The parties

23   reserve the right to revisit this schedule in light of input received from the Court at the Status

24   Conference.

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26   IT IS SO STIPULATED.

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 1   Dated: October 12, 2023                Respectfully submitted,

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 1                                   SIGNATURE ATTESTATION

 2          I, Daniel B. Asimow, am the ECF user whose user ID and password are being utilized to

 3   electronically file this STIPULATION AND [PROPOSED] ORDER SETTING CASE

 4   DEADLINES. Pursuant to Local Rule 5-1(i)(3), I hereby attest that the other signatories have

 5   concurred in this filing.

 6   Dated: October 12, 2023
                                                 ARNOLD & PORTER KAYE SCHOLER LLP
 7

 8                                               By: /s/ Daniel B. Asimow
                                                     DANIEL B. ASIMOW
 9
                                                    Attorney for Defendant
10                                                  THE KROGER CO.
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 1                                               ORDER

 2         Based on the stipulation of the parties, and good cause appearing therefore, IT IS HEREBY

 3   ORDERED that the Stipulation is approved.

 4         PURSUANT TO STIPULATION, IT IS SO ORDERED.

 5          October 17, 2023
     Dated:_________________

 6
                                                 _________________
 7                                               THE HONORABLE VINCE CHHABRIA
                                                 United States District Judge
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     STIPULATION AND [PROPOSED] ORDER SETTING CASE DEADLINES                        NO. 3:23-cv-00459-VC
